                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                        1:24-cv-00035-MR-WCM

MEHRL PHEBUS and                             )
DEBRA PHEBUS,                                )
                                             )
               Plaintiffs,                   )
v.                                           )                 ORDER
                                             )
MOUNTAIN LIFE CABINS, LLC;                   )
OUT-A-BOUNDS FARM, LLC;                      )
RICHARD W. NORTON, JR.;                      )
GLEN FRANK; and                              )
DYLAN FRANK,                                 )
                                             )
           Defendants.                       )
_______________________________

          This matter is before the Court on a “Stipulation and Agreed Order to

Extend Deadlines and Request for Scheduling Conference” (the “Stipulation,”

Doc. 35) and an “Agreed Order to Amend Complaint” (the “Agreed Order,” Doc.

36).1

     I.     Potential Amendment

          The Agreed Order states that Plaintiffs wish “to amend their Complaint

to replace the named party Richard Norton Construction with Timbercraft

Custom Homes.” Doc. 36 at 1.



1 Though the filings have not been submitted as motions and are not supported by

briefs (see Local Civil Rule 7.1 (c)), because they seek action by the Court, the
undersigned construes them as being motions.

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      There are numerous deficiencies with this request.

      First, the parties do not cite any of the Rules of Civil Procedure or any

other authorities in support of this request or otherwise explain how it should

be analyzed.

      Second, “Richard Norton Construction” is not a party to this case.

Rather, the Complaint names Richard W. Norton Jr. as a defendant and

alleges that “Richard W. Norton, Jr., d/b/a Norton Construction was at all

material times a citizen of the State of North Carolina . . .” Doc. 1 at ¶ 4; see

also Doc. 10.

      Third, no proposed amended complaint has been submitted and the

filings are inconsistent as to the precise nature of the proposed amendment.

For example, the Agreed Order states that “Plaintiffs seek to amend their

Complaint to substitute Timbercraft Custom Homes in place of Richard Norton

Construction as a named defendant in this action or as an additional party”

but later states that Plaintiffs are being given leave “to file their Amended

Complaint, substituting Timbercraft Custom Homes in place of Richard

Norton Construction….” Doc. 36 at 2 (emphasis added).

      Fourth, the parties do not describe what effect, if any, the proposed

amendment would have on the Court’s subject matter jurisdiction which is

based on diversity. See Owen Equip. & Erection Co. v. Kroger, 437 U.S. 365,

367 (1978); Murphy and Chapman, P.A. v. Metro. Life Ins. Co., No. 3:05CV472-

                                        2

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H, 2006 WL 211811, *2-3 (W.D.N.C. 25 Jan. 2006) (“the Supreme Court has

expressly held that the addition of a nondiverse defendant through the filing

of an amended complaint defeats complete diversity”).

   II.      Scheduling Issues

         The Stipulation states that the parties “agree to extend all current case

deadlines by sixty (60) days to allow the parties to participate in mediation and

continue discovery in good faith” and requests that the Court reschedule the

trial date and hold a scheduling conference.

         From the current filings, it appears that, at the beginning of a mediated

settlement conference on December 19, 2024, “the parties determined, via the

insurance carrier for Richard Norton,” that Timbercraft Custom Homes was a

proper defendant, “not Richard Norton Construction.” Doc. 36 at 1. The

undersigned further reads the filings to indicate that mediation was

rescheduled for February 4, 2025. Doc. 35 at 1.

         This case was filed in February 2024 and a Pretrial Order and Case

Management Plan was issued on June 6, 2024. Docs. 1, 12. That Pretrial Order

set a March 7, 2025 deadline for the completion of court enforceable discovery,

a March 25, 2025 deadline for mediation, and an April 8, 2025 deadline for

dispositive motions. Trial is scheduled for September 8, 2025.

         The parties’ filings provide no explanation for why they did not discover

until the beginning of a mediated settlement conference on December 19,

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2024—which was 10 months after the case was filed and 6 months after the

Pretrial Order was entered—that Timbercraft Custom Homes should be a

party.

      Under these circumstances, the parties’ showings in the Stipulation and

Agreed Order are insufficient to justify the relief sought.

      IT IS THEREFORE ORDERED that the “Stipulation and Agreed Order

to Extend Deadlines and Request for Scheduling Conference” (Doc. 35) and the

“Agreed Order to Amend Complaint” (Doc. 36), which have been construed as

motions, are DENIED WITHOUT PREJUDICE.

                                 Signed: January 6, 2025




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